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7                                UNITED STATES DISTRICT COURT

8                                      DISTRICT OF NEVADA

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11     UNITED STATES OF AMERICA,                    Case No. 2:13-cr-00185-MMD-VCF

12                                   Plaintiff,         ORDER REGARDING REPORT AND
             v.                                             RECOMMENDATION OF
13                                                           MAGISTRATE JUDGE
       ROBERT BARROW,                                         CAM FERENBACH
14
                                  Defendants.
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17     I.    SUMMARY

18           Before the Court is the Report and Recommendation of United States Magistrate

19     Judge Cam Ferenbach (dkt. no. 155) (“R&R”) relating to Defendant Robert Barrow’s

20     (“Barrow”) Motion to Suppress (dkt. no. 140). The Court has reviewed Barrow’s objection

21     (dkt. no. 156) and the government’s response (dkt. no. 158). For the reasons below, the

22     Court adopts the R&R.

23     II.   BACKGROUND

24           Barrow faces ten criminal counts stemming from several robberies which took

25     place in February, March, and April of 2013. (Dkt. no 111.) On August 6, 2015, Barrow

26     filed a motion to suppress and requested a Franks hearing, arguing that Las Vegas

27     Metropolitan   Police   Department   (“LVMPD”)    officers   unconstitutionally detained,

28     searched, and interrogated Barrows, and then submitted a misleading affidavit in support
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1      of a search warrant for his car. (Dkt. no. 140 at 2.) Magistrate Judge Ferenbach denied

2      the motion in its entirety. (Dkt. no. 155.)

3             Barrow objects to Judge Ferenbach’s recommendation to deny a Franks hearing

4      to challenge the search warrant issued for Barrow’s car. (Dkt. no. 156 at 1.) He argues

5      that Judge Ferenbach erred in finding the affidavit in support of the warrant was

6      sufficient even when several alleged omissions were considered. The Court disagrees

7      and adopts Judge Ferenbach’s R&R.

8      III.   LEGAL STANDARD

9             Magistrate judges have authority to review and file findings and recommendations

10     on matters referred by the district court, including motions to suppress evidence in a

11     criminal case. LR IB 1-4(h). This Court “may accept, reject, or modify, in whole or in part,

12     the findings or recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1).

13     Where a party timely objects to a magistrate judge’s report and recommendation, then

14     the court is required to “make a de novo determination of those portions of the [report

15     and recommendation] to which objection is made.” 28 U.S.C. § 636(b)(1). The Court thus

16     accepts the portions of the R&R to which Barrow does not object and conducts a de

17     novo review of the portion of the R&R to which Barrow objects—the Magistrate Judge’s

18     recommendation to deny a Franks hearing.

19            In Franks v. Delaware, 438 U.S 154 (1978), the Supreme Court established a

20     two-prong test for overturning a judicial officer’s probable cause finding. First, the there is

21     a “presumption of validity with respect to the affidavit supporting the search warrant.” Id.

22     at 171. Second, a defendant is entitled to an evidentiary hearing on the validity of the

23     affidavit only if he can make a “substantial showing” that: (1) the affidavit contains

24     intentionally or recklessly false statements or misleading omissions and (2) the affidavit

25     cannot support a finding of probable cause without the false information or with the

26     misleading omissions. Id. at 155–56.

27            The Ninth Circuit has articulated five requirements that a defendant must satisfy

28     to warrant a Franks hearing: (1) the defendant must allege specifically which portions of

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1      the warrant affidavit are claimed to be false; (2) the defendant must contend that the

2      false statements or omissions were deliberately or recklessly made; (3) a detailed offer

3      of proof, including affidavits, must accompany the allegations; (4) the veracity of only the

4      affiant must be challenged; (5) the challenged statements must be necessary to find

5      probable cause. United States v. Perdomo, 800 F.2d 916, 920 (9th Cir. 1986) (citing

6      United States v. Dicesare, 765 F.2d 890, 895 (9th Cir. 1985)). In other words, a

7      defendant must show that the affidavit could not support a finding of probable cause

8      even if it were purged of its falsities and supplemented by the omissions. See United

9      States v. Stanert, 762 F.2d 775, 778 (9th Cir. 1985) (citing Franks, 438 U.S at 171-72).

10            A judge’s probable cause determination is accorded “significant deference,”

11     United States v. Gil, 58 F.3d 1414, 1418 (9th Cir. 1995), and will be overturned only if it

12     is “clearly erroneous.” Stanert, 762 F.2d at 778. In making this determination, the court is

13     “limited to the information and circumstances contained within the four corners of the

14     underlying affidavit.” Id. The duty of a reviewing court is to ensure that the magistrate

15     judge had a “substantial basis” for concluding that probable cause existed. Illinois v.

16     Gates, 462 U.S. 213, 238 (1983) (internal quotations omitted).

17     IV.    DISCUSSION

18            In support of his request for a Franks hearing, Barrow identifies eleven facts that

19     were omitted form LVMPD’s application and affidavit for a search warrant. (Dkt. no. 140

20     at 17-18.) The facts range from a negative eyewitness identification, to details about

21     Barrow’s first contact with police, to allegations about what police officers knew and

22     when. (Id.) Judge Ferenbach characterized these omissions as “conjectural, irrelevant,

23     or legal conclusions.” (Dkt. no. 155 at 7.) He then concluded that probable cause for a

24     search of Barrow’s vehicle existed even when these omissions were considered. (Id.)

25            The application and affidavit for a search warrant contain facts that support a

26     probable cause finding even taking all of Barrow’s alleged omissions into account. For

27     example, as Judge Ferenbach notes in the R&R, Barrow asked a friend to remove a

28     jacket and backpack from the vehicle in question during a recorded phone call while he

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1      was in custody. (Dkt. no 140-8 at 25.) In a later phone call, Barrow expressed

2      displeasure that the police had impounded his vehicle before his friend could retrieve the

3      items. (Id. at 26.) These statements clearly tie the vehicle to Barrow, who at the time he

4      made the calls had been arrested and charged with robbery. (Id. at 24.) The alleged

5      omissions and misleading statements that Barrow relies upon do nothing to undermine

6      these facts, and therefore he has not satisfied the second Franks factor ― showing that

7      the affidavit cannot support a finding of probable cause without the false information or

8      with the misleading omissions. The Court thus agrees with the Magistrate Judge’s

9      finding.

10     V.     CONCLUSION

11            It   is   therefore   ordered,   adjudged   and   decreed     that   the   Report   and

12     Recommendation of Magistrate Judge Cam Ferenbach (dkt. no. 155) be accepted and

13     adopted in full. Defendant’s Motion to Suppress and Franks Hearing Request (dkt. no.

14     140) is denied.

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              DATED THIS 8th day of December 2015.
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18                                                MIRANDA M. DU
                                                  UNITED STATES DISTRICT JUDGE
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